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                ATTACHMENT F
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     January 25, 2024

     Honorable John F. Walter
     District Judge
     United States Courthouse
     350 W. 1st Street
     Los Angeles, CA 90012

     Kenneth Walsh

     Los Angeles, CA 90041

     RE: Case No. 2:20-cr-00326-JFW: The United States of America v. Jose Luis
     Huizar

     Dear Judge Walter,

            I am a former constituent of Jose Huizar and I would like for you to
     understand how much Mr. Huizar’s criminal actions have impacted my life and
     the lives of my fellow constituents of Los Angeles City Council District 14. Our
     stories may be unique, but our struggles are equally painful and heartbreaking.
     Mr. Huizar’s criminal conspiracy impacted and ruined the lives of hundreds of
     people in his former district for which they will never be able to enjoy the
     tranquility and peace that they once enjoyed. Mr. Huizar’s upcoming sentencing
     is the one and the only time where he will finally be held accountable for his
     criminal actions but more importantly, his failure to represent the people of
     Council District 14.

            Mr. Huizar’s engagement in criminal activity, which lead to his ultimate
     demise, was not the result of a few bad choices but instead a long series of
     choices where he put his ego and his own prosperity before the needs of the
     district for which he was elected to. Over the course of his term in office, he
     created an enemy’s lists, which I think I was on, of members of the community
     who he could not rely on or did not trust. This list, which was then used by his
     staff, to ignore and not respond to calls for assistance for any constituents whose
     name was on that list. For over 12 years, I asked his office for assistance to rid
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     my neighborhood of Casino tour buses and he never did anything until it affected
     a developer that was planning to build behind my parent’s house.

            The start of Mr. Huizar’s criminal activity coincided with the bombardment
     of real estate agents, investment groups and flippers going door to door asking
     residents if they were interested in selling. As one real estate agent later told me
     after Mr. Huizar was arrested, “ we all know he is dicey, we all just want to get in
     on the action.” Mr. Huizar was actively selling out our district to any developer
     with cash. Mr. Huizar used his influence on the LA Metro Board to steer a
     dedicated bus line to be built through Eagle Rock. With a bus line through Eagle
     Rock, Mr. Huizar would be able to attract developers, who would be able to build
     transient orientated housing, which is protected from community input and can
     not be block by planning departments. This bus line would have allowed him and
     his wife (if she was elected to his council seat) to negotiate with developers and
     have a tight grip on building in District 14 for 24 years as his former Planning
     Deputy Shawn Kuk was quoted as saying. The bus line is stilled planned to come
     next year, but LA Metro has done a horrible job with community outreach and
     many people feel it is another backroom deal that needs to be investigated.

            In March of 2016, my parents received a notice from the Eagle Rock
     Neighborhood Council that they were hosting a meeting about a proposed 38-
     unit small lot subdivision project that was going to replace the old commercial
     building behind their property. The developer,         , was not the most ethical
     developer. Their project manager punched the Vice-Chairman of the Silverlake
     Neighborhood Council over noise issues at their Silverlake development. Many
     people in the community supported this developer because they thought the new
     residents would bring money into their small businesses, but that never
     materialized. These people were completely convinced that Mr. Huizar was
     attracting these developers to improve our community and engaged in
     harassment, belittling and shunning of those who were impacted by these new
     developments or voiced objections about them. Likewise, one developer even
     arrogantly told our community to shut up and let him do what he needs to do
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     because he knows what is better for us than we do. Mr. Huizar created this level
     of hostility and fighting within the community and then cowered behind his
     famous statement that he was only doing what the community was telling him to
     do.

             Mr. Huizar did not engage my parents nor my neighbors about                 ’s
     development but we had to put up a fight because this developer was not
     following the rules and Mr. Huizar’s office refused to talk to us. Since we created
     a firestorm of controversy for          , they made some minor changes to their
     development but they still got approved.            ’s Vice President
     and his assistant                 , along with their overzealous realtor
              were young, ambitious and aloof to the issues to the problems once the
     commercial building was closed. They were more interested in making name
     plates for the first residents, which they never did. Graffiti artists tagged the
     building, druggies started shooting up in the back and the homeless started living
     in it. Mr.         thought the graffiti was just art and made everything look better.
     They would not address these issues and Mr. Huizar’s office refused to respond
     to my emails. On January 7, 2018 the building caught on fire. There was a large
     black plum over the building and the apartments on the northside were forced to
     evacuate. 100 fire fighters were called in to fight it and the media was fully
     covering it. Following the fire, a city employee told me that Mr. Huizar called Mr.
                  and yelled at him for the embarrassment he caused to his office. Mr.
     Huizar never once reached out to all of us who were living around this building
     and to see if we were ok.

     (Video of the Fire: YouTube.com, Search: Building Fire In Eagle Rock Called
     'Suspicious', https://www.youtube.com/watch?v=tectIM-PeiM)


             In February of 2022, my mother’s health started to decline and she was
     having trouble breathing. She was rushed to the hospital and after several days
     of testing she was diagnosed with cancer, Lymphoma. Lymphoma can be
     caused by exposure to a toxic substance and sometimes no cause can be
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     determined. While I have been caring for my mother and helping her recover, I
     am constantly reminded of what Mr.              said at the Neighborhood Council
     meeting, that there was hazardous material inside the building that had to be
     abated before demolition. The fire burnt all the hazardous materials and exposed
     all of us to whatever materials that were in there. My Father’s lemon tree now
     produces brown lemons, my neighbor’s 60 year old orange tree has died and
     several other trees around us have died. If that fire caused my mother’s cancer,
     she did not deserve to suffer because of Mr. Huizar’s crimes and carelessness!

            Mr. Huizar created his own fiefdom with Council District 14. He negotiated
     with developers like he was buying a new car or house. He and his family
     profited and enjoyed a luxurious lifestyle while his constituents had their lives
     destroyed and ruined by his selfish actions and greedy developers. The arrest of
     Mr. Huizar and his co conspirators did nothing to reform City Hall. The homeless
     crisis in Council District 14 is a direct result of Mr. Huizar’s wheeling and dealing
     because we have lost a lot of rent controlled units and many of those who were
     evicted are now living on the streets.

            Mr. Huizar’s criminal actions should send him to jail
                     but that is in your hands to decide. Mr. Huizar’s actions directly
     impacted the lives of his former constituents and I strongly feel he should be
     forced to apologize directly to Council District 14 and to the whole City for his
     illicit actions. Mr. Huizar should not be given the luxury of quietly fading away
     from the criminal conspiracy he created. He should be required to write a full-
     page summation of his crimes and apology in the LA Times, LA Daily News and
     online with the Eastsider.com and the LAist.com. He should also write a letter of
     apologies to all Neighborhood Councils and Business Improvement Districts in
     Council District 14. Our current Council member, Kevin de Leon, went on a
     public apology tour for his derogatory remarks and inactions, so it seems
     appropriate that Mr. Huizar does the same. This will not undo the damage he
     has caused but it would be the first step in bringing accountability and
     transparency back to the LA City Hall.
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            I apologize for the length of my letter but no one has wanted to listen to
     my family’s plight nor the plight of the constituents of Council District 14 who are
     the silent victims of Mr. Huizar’s criminal activity. Thank you for listening.

     Sincerely,

     Kenneth Walsh
